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                                         U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York
                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007




                                                    April 25, 2016



BY ECF AND FAX

The Honorable George B. Daniels
United States District Judge
Southern District of New York
United States Courthouse
500 Pearl Street
New York, New York 10007
Fax: (212) 805-6737

               Re:    United States v. Christopher Scalia, 11 Cr. 170 (GBD)

Dear Judge Daniels:

       On April 15, 2016, the parties appeared before the Court and jointly requested that the
defendant’s terms of supervised release be modified to include in-patient drug treatment.
Specifically, the parties jointly propose that the defendant’s terms of supervised release be
modified to include the following language: “in-patient drug treatment for 6 to 9 months, as
recommended by ACI, at a treatment facility approved by the Probation Office.”

                                                    Respectfully submitted,

                                                    PREET BHARARA
                                                    United States Attorney for the
                                                    Southern District of New York

                                                By: /s/ Jane Kim
                                                   Jane Kim
                                                   Assistant United States Attorney
                                                   (212) 637-2038

Cc:    Avraham C. Moskowitz, Esq. (by ECF and Email)
